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                   IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF VIRGINIA

                                    Richmond Division

UNITED STATES OF AMERICA                 )
                                         )
     v.                                  )     Criminal No. 3:11CR21
                                         )
BARRY W. WOODBURY                        )
                                         )
     Defendant.                          )

               PROPOSED EXHIBIT LIST OF THE UNITED STATES

     Exhibit No.     Description
          1          Photo–Apartment Building
          2          Photo–Residence
          3          Photo–Firearm
          4          Hawes .357 caliber revolver
          5          Ammunition
          6          Buccal Swab–Woodbury
          7          Buccal Swab–Barlow
          8          Buccal Swab–Taylor
          9          DNA certificate of analysis
          10         Stipulation.
          11         Reserved.
          12         Reserved.
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                                       Respectfully submitted,

                                       NEIL H. MACBRIDE
                                       UNITED STATES ATTORNEY

                                 By:          /s/
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 27th day of June, 2011, I will electronically file the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to counsel of record.


                                              By:            /s/
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